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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                   X
THE NEW YORK TIMES COMPANY and
MARK MAZZETTI,                                     :

                              Plaintiffs,          :

                    v.                             :       No. 22-cv-01539 (JSR)

UNITED STATES DEPARTMENT OF JUSTICE,               :

                              Defendant.        :
________________________________________________X


   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ CROSS-
   MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
      DEFENDANT’S MOTION FOR SUMMARY JUDGMENT




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       Plaintiffs The New York Times Company and Mark Mazzetti (together, “The Times”)

respectfully submit this memorandum of law in support of their cross-motion for summary

judgment and in opposition to Defendant’s motion for summary judgment.

                                PRELIMINARY STATEMENT

       This litigation centers on two Freedom of Information Act (“FOIA”) requests, both of

which are seeking information that will illuminate for the public why the FBI was exploring the

surveillance technology of an Israeli company called NSO Group—technology that has been

used to violate the rights of human rights activists and others in nations across the globe. The

FBI has responded, as it often does, with broad invocations of Exemption 5 (which protects

deliberative material) and Exemption 7(E) (which shields from disclosure a narrow set of law

enforcement documents) as well as Exemptions 1 and 3 (addressed to national security

concerns). As set forth below, those exemptions have been stretched beyond what the law

allows. And, as a threshold matter, the FBI has yet to conduct an adequate search for documents

or present a Vaughn index that satisfies what FOIA requires.

                                  FACTUAL BACKGROUND

       The surveillance technology developed by the highly controversial NSO Group (“NSO”)

has been used in countries around the world to spy on journalists, human rights activists, and

dissenters. (See Declaration of Mark Mazzetti (“Mazzetti Decl.”) ¶ 4.) Pegasus, one of NSO’s

products, has the extraordinary ability to collect vast swaths of information from people’s

smartphones—their call history, text messages, contacts, location data, and any data transmitted

over apps—all without the Pegasus user needing to touch the target smartphone. (Id. ¶ 3.)

Abusive uses of the technology were reported in various countries, including Saudi Arabia, the

United Arab Emirates, and Mexico. (Id. ¶ 4.) So concerning was the NSO technology that the


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Biden administration blacklisted NSO in November of 2021. (Id. ¶ 5.) By then, it was known

that someone had deployed Pegasus against U.S. diplomats in Uganda. (Id. ¶ 6.)

       In January of 2022, The New York Times (“The Times”) revealed that, despite the history

of authoritarian abuse by users of NSO’s technology, the FBI in 2019 had obtained NSO’s

spyware, including a product called Phantom, which could target U.S. phones. (Id. ¶ 7 and Exh.

A attached thereto.) It was later learned that, amid widespread negative press coverage of the

abuses of NSO Group products elsewhere, the FBI secretly terminated its relationship with NSO.

(Mazzetti Decl. ¶ 8.)

       It was only in March 2022 that FBI Director Christopher Wray publicly confirmed at a

congressional hearing that the FBI had purchased a license to test the Pegasus product, though he

maintained that the agency decided not to operationalize the technology. (See Declaration of

Michael G. Seidel (“Seidel Decl.”), Dkt. 14, ¶¶ 35-36.) He claimed that the FBI has never

“use[d] the products operationally in an investigation.” “Hearing on Annual Worldwide

Threats,” U.S. House of Representatives, March 8, 2022,

https://docs.house.gov/meetings/IG/IG00/20220308/114469/HHRG-117-IG00-Transcript-

20220308.pdf. The Times in May 2022 revealed that the FBI had told the Israeli government at

the time it was seeking to obtain NSO tools that it wanted to use the technology in criminal

investigations. (Mazzetti Decl. ¶ 10 and Exh. B attached thereto.)

       The Times’s stories in January and May of 2022 by reporters Mark Mazzetti and Ronen

Bergman culminated a year-long investigation into NSO. (Mazzetti Decl. ¶ 7.) In fact, The Times

had been writing about the abusive uses of NSO’s spyware since at least 2016. (Id. ¶ 2.)

       To further explore how the FBI had used NSO’s Pegasus and Phantom, The Times on

January 10, 2022, filed a FOIA request with the FBI, seeking “all contracts, memoranda of


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understanding, and correspondence between the FBI and employees of NSO Group.” (See Seidel

Decl. ¶ 6 and Exh. A attached thereto.) After the agency failed to make a determination by the

statutory deadline set by FOIA, The Times commenced this litigation on February 24, 2022.

(Dkt. 1.) Separately, The Times filed a second request on February 7, 2022, seeking “[a]ll

policies, reports, memoranda, or guidelines regarding the use of NSO products,” and “[a]ll

correspondence within [DOJ], including the FBI, discussing the use of NSO products.” (See

Seidel Decl. ¶ 10 and Exh. D attached thereto.) In response, the FBI said it could neither confirm

nor deny whether the documents existed. (Mazzetti Decl. ¶ 15.) The Times, following an

administrative appeal, filed an amended complaint on March 23, 2022, folding in the second

request. (Dkt. 9.)

       While this litigation was pending, Defendant made three productions of redacted

documents, but withheld most of the responsive material. The list of documents produced and

withheld is set forth in Exhibit K to the Seidel Declaration. (Dkt. 14-11.)

                                          ARGUMENT

       FOIA requires that government records be made available to the public unless a statutory

exemption applies. 5 U.S.C. § 552(a)(3)(A), (b)(1)-(9). “The basic purpose of FOIA reflect[s] a

general philosophy of full agency disclosure.” Bloomberg, L.P. v. Bd. of Governors of the Fed.

Reserve Sys., 601 F.3d 143, 147 (2d Cir. 2010) (quoting Dep’t of the Air Force v. Rose, 425 U.S.

352, 360-61 (1976) (cleaned up)). In light of this purpose, “FOIA exemptions are to be construed

narrowly.” Associated Press v. DOD, 554 F.3d 274, 283 (2d Cir. 2009). There is a “strong

presumption in favor of disclosure [that] places the burden on the agency to justify the

withholding of any requested documents.” Id. (quoting U.S. Dep’t of State v. Ray, 502 U.S. 164,

173 (1991)); see Seife v. FDA, 43 F.4th 231, 235 (2d Cir. 2022) (“All doubts are resolved in


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favor of disclosure.”) (cleaned up). “[W]hen an agency seeks to withhold information, it must

provide a relatively detailed justification, specifically identifying the reasons why a particular

exemption is relevant and correlating those claims with the particular part of a withheld

document to which they apply.” Mead Data Cent., Inc. v. Dep’t of the Air Force, 566 F.2d 242,

251 (D.C. Cir. 1977); see 5 U.S.C. § 552(b) (requiring the government to disclose “the

exemption under which [each] deletion [to a record] is made”). An agency must also show that

its explanation of the applicability of an exemption is logical and plausible. ACLU v. DOJ, 901

F.3d 125, 133 (2d Cir. 2018). The agency’s failure to meet its burden requires disclosure of the

requested documents. See NRDC v. EPA, 954 F.3d 150, 154 (2d Cir. 2020).

       A court reviews de novo an agency’s decision to withhold information from the public.

See 5 U.S.C. § 552(a)(4)(B). The agency’s decision as to the applicability of a given exemption

is not entitled to judicial deference. See Bloomberg, 601 F.3d at 147. Although courts review

reasonably detailed agency affidavits with a presumption of good faith, this primarily is for

determining the need for further fact-finding. See, e.g., Wood v. FBI, 432 F.3d 78, 85 (2d Cir.

2005); see also Wilner v. NSA, 592 F.3d 60, 69, 73 (2d Cir. 2009) (presumption does not replace

de novo review by courts).

                                          I.
                          THE FBI’S SEARCH WAS INADEQUATE

       To prevail at summary judgment, an agency bears the burden of demonstrating that its

search was “reasonably calculated to discover the requested documents.” Brennan Ctr. for

Justice v. ICE, 571 F. Supp. 3d 237, 249 (S.D.N.Y. 2021) (Rakoff, J.). An agency can satisfy this

burden by submitting affidavits or declarations “indicating that the agency has conducted a

thorough search.” Carney v. U.S. DOJ, 19 F.3d 807, 812 (2d Cir. 1994). An agency generally



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need not “search every record system,” but it “cannot limit its search to only one record system if

there are others that are likely to turn up the information requested.” Campbell v. DOJ, 164 F.3d

20, 27-28 (D.C. Cir. 1998); accord, e.g., Nat’l Immigration Project of the Nat’l Lawyers Guild v.

DHS, 2012 U.S. Dist. LEXIS 184036, at *12 (S.D.N.Y. Dec. 27, 2012). Even when the agency

has described in “reasonable detail the scope and method of the agency’s search,” Grand Cent.

P’Ship., Inc. v. Cuomo, 166 F.3d 473, 489 (2d Cir. 1999), a requester may nonetheless produce

“countervailing evidence” showing a genuine dispute of material fact as to the adequacy of the

search, “and if the sufficiency of the agency’s identification or retrieval procedure is genuinely in

issue, summary judgment is not in order.” Amnesty Int’l USA v. CIA, 728 F. Supp. 2d 479, 497

(S.D.N.Y. 2010) (quoting Founding Church of Scientology of Washington, D.C., Inc. v. NSA,

610 F.2d 824, 836 (D.C. Cir. 1979)).

       Here, the FBI has not established that its search for records was adequate. First, the FBI

used insufficient search terms. “Where challenged, agencies have to explain why certain search

terms, clearly relevant, were not used.” Brennan Ctr. for Justice v. DOJ, 377 F. Supp. 3d 428,

434 (S.D.N.Y. 2019); accord, e.g., Knight First Amendment Inst. at Columbia Univ. v. CDC, 560

F. Supp. 3d 810, 823 (S.D.N.Y. 2021) (hereinafter, “CDC”). The Seidel Declaration describes

the FBI’s process of searching for the records, including the files it searched and the terms it

used. (Seidel Decl. ¶¶ 19-34.) The FBI used only two search terms: “NSO Group” and

“Pegasus.” (Seidel Decl. ¶¶ 28, 34.) It did not use a third obvious and significant term:

“Phantom.” The Phantom surveillance tool—which is capable of targeting U.S. phones, unlike

Pegasus—was reviewed by the FBI, according to The Times’s reporting. (Exh. A to Mazzetti

Decl.) That capability would be of obvious interest to a domestic law enforcement agency like

the FBI. (Mazzetti Decl. ¶ 10.) Documents pertaining to Phantom are also clearly responsive to


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The Times’s requests. (See Exh. A to Seidel Decl. (request for correspondence and other

documents between FBI and NSO); Exh. D to Seidel Decl. (request for documents about “NSO

products”).)

       Second, the FBI did not search through files of individuals and units that were clearly

involved in the NSO project. See CDC, 560 F. Supp. 3d at 826 (concluding that “it was

unreasonable of the CDC to omit those individuals likely to have responsive documents from the

search”). The FBI’s declarant states that the FBI conducted a search of the Central Records

System as well as the e-mail accounts of certain Senior Executive Service employees from the

Deputy Director’s Office; National Security Branch; Criminal, Cyber Response and Services

Branch; Operational Technology Division, Criminal Investigative Division; Counterintelligence

Division; and Office of General Counsel. (Seidel Decl. ¶¶ 28-34.) But, inexplicably, the FBI did

not search the files of the FBI Director, even though it was his testimony before Congress in

March 2022 that disclosed the NSO project and its cessation. (See Memorandum of Law in

Support of Defendant United States Department of Justice’s Motion for Summary Judgment

(“FBI Mem.”), Dkt. 13, at 2.)1 Further, the FBI apparently did not search the Office of

Congressional Affairs (“OCA”). OCA is mentioned repeatedly in the Vaughn Index—12 times,

in fact—and was clearly a key player in the NSO affair as congressional critics began raising

questions about the abuse of the technology. (See Exh. K to Seidel Decl.)

       Third, the FBI’s search failed to uncover extant documents. While an agency is not

required to find every responsive document, and adequacy is judged by the search process not



1
  Though the FBI Director’s testimony post-dated The Times’s two FOIA requests, it is
implausible that Mr. Wray—who began his term in August 2017—did not possess responsive
records during the relevant timeframe.

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the results, the absence of certain documents may raise doubts about a search’s sufficiency. See,

e.g., Reporters Comm. for Freedom of the Press v. FBI, 877 F.3d 399, 402, 433 (D.C. Cir. 2017)

(noting that “positive indications of overlooked materials” can bring into question the adequacy

of a search). Here, for instance, the FBI’s Vaughn index cites drafts of a response to inquiries by

Senator Ron Wyden, and emails about it—but the production does not include either Wyden’s

correspondence with the FBI or the FBI’s final response. (See Exh. K to Seidel Decl., Bates-

numbered documents (“Docs”) 136-42, 145-52, 162-71, 172-76, 177-80, 181, 183-85, 186-94,

305-07.)

                                       II.
                       THE FBI HAS IMPROPERLY WITHHELD
                      MATERIAL UNDER EXEMPTIONS 5 AND 7(E)

       The Times does not challenge any withholding pursuant to Exemptions 6 and 7(C)

(privacy) or Exemption 7(A) (pertaining to ongoing investigations). It challenges withholding

under Exemptions 1 and 3 (dealing with national security materials) only as to (i) the contract

with NSO and (ii) documents dealing with talking points, including drafts of talking points. (See

Section IV below.) The Times’s principal challenge is to the FBI’s overly expansive invocation

of Exemption 5 (deliberative documents) and Exemption 7(E) (documents concerning law

enforcement techniques, procedures, and guidelines whose “disclosure could reasonably be

expected to risk circumvention of the law”). The Times challenges the use of these two

exemptions to withhold or redact in the groups of documents identified below in Subsection C.

       A. The Legal Standards Applicable to Exemption 5 and Exemption 7(E)

       Exemption 5 permits an agency to withhold “inter-agency or intra-agency memorandums

or letters that would not be available by law to a party other than an agency in litigation with the

agency.” 5 U.S.C. § 552(b)(5). Courts construe Exemption 5 to operate similarly to the privileges


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applicable to discovery proceedings in civil litigation, specifically the deliberative process

privilege, attorney-client privilege, and attorney-work product privilege. NRDC, 954 F.3d at 155.

The deliberative process privilege, which is the primary Exemption 5 privilege that The Times is

challenging, protects documents that are both “predecisional,” i.e., created prior to the agency’s

final decision on the matter, and “deliberative,” i.e., prepared to help the agency formulate its

position. Grand Cent. P’ship., 166 F.3d at 482. Both prongs are required to obtain protection of

the privilege.

       As a result, even predecisional documents may not fall within the privilege if they are not

deliberative. See, e.g., Providence Journal Co. v. Dep’t of Army, 981 F.2d 552, 559 (1st Cir.

1992); Formaldehyde Inst. v. HHS, 889 F.2d 1118, 1123 (D.C. Cir. 1989). A predecisional

document will qualify as “deliberative” provided it (i) formed an essential link in a specified

consultative process, (ii) “reflect[s] the personal opinions of the writer rather than the policy of

the agency,” and (iii) if released, would “inaccurately reflect or prematurely disclose the views of

the agency.” Brennan Ctr. for Justice v. DOJ, 697 F.3d 184, 202 (2d Cir. 2012). Importantly

here, “[p]urely factual material not reflecting the agency’s deliberative process is not protected.”

Grand Cent. P’ship., 166 F.3d at 482.

       Exemption 7(E) permits an agency to withhold law enforcement records that “would

disclose techniques and procedures for law enforcement investigations or prosecutions, or would

disclose guidelines for law enforcement investigations if such disclosure could reasonably be

expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E). The exemption protects

only techniques and procedures “not generally known to the public.” Doherty v. DOJ, 775 F.2d

49, 52 n.4 (2d Cir. 1985); accord, e.g., ACLU v. DHS, 243 F. Supp. 3d 393, 402 (S.D.N.Y.

2017). To justify withholding information under Exemption 7(E), the Government must establish


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that the material was compiled for law enforcement purposes. Brennan Ctr. for Justice v. DHS,

331 F. Supp. 3d 74, 97 (S.D.N.Y. 2018). And, of significance here, an agency cannot rely on

boilerplate generic descriptions of harm to carry its burden of showing that disclosure would

cause circumvention. ACLU, 243 F. Supp. 3d at 403; ACLU v. ODNI, 2011 U.S. Dist. LEXIS

132503, at *34 (S.D.N.Y. Nov. 15, 2011); Lawyers Comm. for Human Rights v. INS, 721 F.

Supp. 552, 566 (S.D.N.Y. 1989).

       B. The FBI’s Legally Deficient Vaughn Index

       As an initial matter, the Government should be denied summary judgment because its

Vaughn index (Exh. K to Seidel Decl.) is legally insufficient.2 Summary judgment is not granted

where the agency’s claims of exemption in a Vaughn index are “conclusory, merely reciting

statutory standards, or if they are too vague or sweeping.” Seife v. Dep’t of State, 298 F. Supp. 3d

592, 607 (S.D.N.Y. 2018) (quoting Quinon v. FBI, 86 F.3d 1222, 1227 (D.C. Cir. 1996)). For

each piece of withheld information, the agency must “discuss the consequences of disclosing the

sought-after information,” and it must show “that the information withheld is not reasonably

segregable.” Lawyers Comm., 721 F. Supp. 552 at 560 (cleaned up). An agency’s Vaughn index

must contain “reasonable specificity of detail as to demonstrate that the withheld information

logically falls within the claimed exemption.” Wilner, 592 F.3d at 76. The purpose of the index is

to “to correct, however imperfectly, the asymmetrical distribution of knowledge that

characterizes FOIA litigation.” CREW v. DOJ, 2022 U.S. App. LEXIS 23202, at *33 (Aug. 19,

2022) (quoting King v. DOJ, 830 F.2d 210, 218 (D.C. Cir 1987) (cleaned up)).




2
  To assist a court in its deliberations, a Vaughn index identifies documents withheld in response
to a FOIA request and originated in Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973).

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       The Government’s submissions fall far below that standard here. The Vaughn index

repeatedly fails to mention the senders or recipients of communications or what deliberation was

taking place or, at times, even the date—all facts necessary to establish the applicability of

Exemption 5. (See, e.g., Exh. K to Seidel Decl., Docs 512-514 (no recipients); Docs 324-329 and

372-426 (no indication of relevant deliberation), Docs 372-426 (no dates), Docs 463-467 and

662-674 (no dates, no author, no recipient, no indication of relevant deliberation). Further, the

FBI repeatedly relies on generic statements about how documents could conceivably fall within

Exemption 7(E) but without trying to link any of that generic language to identifiable documents

on the Vaughn index. (See FBI Mem. at 7-10.) To say, for instance, that the FBI protected

“information gathered in connection with its testing and evaluation of an NSO product” or

“concerning techniques for strategic and sensitive technology that were evaluated and tested as a

computer network exploitation tool” undoubtedly describes the kind of information that

theoretically could fall within Exemption 7(E)). (See id. at 10.) But the FBI fails to connect those

wide-ranging descriptions to specific documents that are withheld.

       C. The Improper Withholding

       Even the incomplete record made by the FBI leaves little doubt that the withholding here

exceeds what the law permits. The documents to which The Times is challenging the invocation

of Exemptions 5 and 7(E) are grouped below (with numbers referring to Bates stamps shown on

the Vaughn index, Exh. K to Seidel Decl.).

       An essential point, which is relevant to each group of documents below withheld under

7(E), is that the FBI has conceded that it determined in mid-July 2021 not to use NSO’s

technology. (See FBI Mem. at 2.) For that reason alone, the invocation of 7(E) is suspect. The

heart of 7(E) is that the disclosure could disclosure investigative techniques or procedures and


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assist in circumvention of the law. But there is nothing to be circumvented, and no secret

technique or procedure to be revealed, when a law enforcement technology has been rejected and

not deployed for investigations into crime. It is neither logical nor plausible to think that a

document applicable to a technology that the FBI has publicly announced it will not use would

assist any would-be lawbreakers in circumventing that technology in effort to evade law

enforcement. For that reason, the FBI’s use of 7(E) to withhold information in all the challenged

documents should be rejected. In some instances, as noted below, the timing or subject matter of

a document makes the invocation of Exemption 7(E) particularly dubious.

       Likewise, the Government also says that documents pertaining to the acquisition of the

NSO technology falls within Exemption 7(E). (See FBI Mem. at 8.) It is easy to imagine that

there could be a discussion of acquisition that touches on current capabilities of the FBI, but it

more easily imagined that much discussion of acquisition is about contract terms, negotiations

with a counterparty, and the logistics of delivery—subjects not remotely connected to law

enforcement information that would permit “circumvention” of the law, especially for a

technology that was ultimately rejected by the FBI. And for that reason, such invocation of

generic categories and rationales is insufficient to carry its burden under FOIA.

       Similarly, as discussed more fully below, the FBI repeatedly tries to shoehorn documents

into Exemption 5 even though nothing in the description from the Vaughn index would suggest

either that the specific documents were in fact deliberative or that they were devoid of factual

matter—factual matter that should be segregated from exempt passages by redaction and

released as non-deliberative under established Exemption 5 precedents.




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Group A: Docs 1-2, 37-38, 39-40 (documenting meetings)
       The Vaughn index indicates that these documents will be released in part, but to date no

release has been made. In all three instances, they are described as forms FD-1057, a form used

for internal communications. In each instance, the Vaughn index refers to a meeting that took

place on October 28, 2020, involving the Criminal Investigative Division and the Operational

Technology Division on the topic of acquiring NSO surveillance tools. In two of entries, the DOJ

is also identified as a participant, although it is not clear whether the documents pertain to a

single meeting or multiple meetings on the same day.

       FD-1057s are typically devoted to factual matters, including background on the topic and

the specific elements of the topic under consideration. Such sections are not deliberative for

purposes of Exemption 5 and should be released via redaction. To the extent 7(E) is applied, it

fails for the reasons set forth above.

Group B: Docs 41-65, 66 (CID guidance regarding NSO products)
       These two documents, setting out the Criminal Investigative Division’s rules for the NSO

product, fall outside the scope of Exemption 5. The description provides no hint that the

guidance is subject to deliberation and debate, or—for the first document—that it contains

material that is attorney-client privileged or work product. Instead, the guidance appears to fall

squarely into the category of “working law”—rules that the FBI and prosecutors are to follow.

N.Y. Times Co. v. DOJ, 939 F.3d 479, 490-91 (2d Cir. 2019) (guidance that is treated as binding

on an agency or the public falls outside Exemption 5); see also Brennan Ctr. for Justice, 697

F.3d at 189; Tax Analysts v. IRS, 117 F.3d 607, 617 (D.C. Cir. 1997); Coastal States Gas Corp.

v. DOE, 617 F.2d 854, 859-60 (D.C. Cir. 1980) (policy at issue must be disclosed as an agency’s

working law even though it was not formally binding). The documents also likely contain factual


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material that must be segregated and released. To the extent 7(E) is applied, it fails for the

reasons set forth above.

Group C: Docs 83-97 (SharePoint presentation from the Operational Technology Division
about a “proposal of NSO product,” dated July 22, 2021)
       We know from the FBI’s redacted document production that the agency decided to reject

any use of the NSO product on July 22, 2021. On that date, at 11:24 in the morning, an internal

email titled “FULL STOP” states, “All, after a conversation with the DD last night, EAD Turner

and [sic] have agreed to cease all efforts regarding the potential use of [redacted] . . .” (Exh. D to

Mazzetti Decl.) (While the name of the product is strangely redacted in the email, the Vaughn

index says that it deals with “the cease of all efforts regarding the potential use of NSO product.”

Exh. K to Seidel Decl., Docs 516-518.) The FBI has failed to explain what decision requiring a

“proposal” in the form of a slide show was being deliberated on the very day that the NSO

spyware was rejected. More than that, it is inconceivable that a slide presentation contains no

factual information, which must be released even if Exemption 5 otherwise applies. Grand Cent.

P’ship., 166 F.3d at 482. To the extent 7(E) is applied, it fails for the reasons set forth above.

Group D: Docs 122-135, 143-44, 155-160, 526 (talking points documents)
       The FBI does not specify who the intended audience was for these talking points, but

presumptively the points were being developed to address persons outside the FBI. In some

circumstances, agency deliberations about how to communicate policy may come within

Exemption 5. See NRDC v. EPA, 19 F.4th 177, 189 (2d. Cir. 2021). But the agency’s Vaughn

index must nonetheless provide an indication that the “discussions concerned the agency’s

decision of what to say about the policy or how to formulate that message.” Id. at 191. The FBI’s

barebones index patently fails to do that. Moreover, to the extent that the communications bore

on talking points in final rather than draft format, they are categorically outside the scope of the

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deliberative process privilege.3 See, e.g., Judicial Watch, Inc. v. Dep’t of State, 2021 U.S. Dist.

LEXIS 144516, at *20-21 (D.D.C. Aug. 3, 2021) (“While draft talking points or deliberations

about talking points are usually protected, the same logic does not apply to final talking points

that are viewed as ready for an official to use.”). Once again, any factual matters in these

documents must be also released.

       The case for rejecting application of 7(E) is particularly compelling for these documents.

It is neither logical nor plausible that these talking point materials would fall within the

confidentiality imposed by that law enforcement exemption for two reasons. First, it is highly

unlikely that talking points for an external audience would disclose information that would allow

circumvention of the law. Nor has the FBI shown that any internal commentary about the draft

documents veered away from political considerations, style, and scope of disclosure and instead

started revealing 7(E) material. Second, having abandoned all plans to use the NSO product, the

FBI has no basis now for asserting that proposed disclosures about NSO could lead to

circumvention of the law. It is non-operational technology, and as a result there is nothing to

circumvent.

Group E: Docs 136-142, 145-152, 162-194, 305-307 (talking points for Wyden)
       The law discussed immediately above also applies to the documents pertaining to talking

points for Senator Wyden.

Group F: Docs 284-286 (NSO information, Jan. 11-12, 2022)
       This email chain, according to the Vaughn index, deals with “NSO information.” The

FBI gives no hint as to what about NSO is being discussed. And the timing is puzzling. The



3
  The FBI notes that “[s]ome” of the talking points it withheld “are in draft format.” (Seidel Decl.
¶ 57(c).)

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emails are dated January 11 and 12, 2022—in other words, at a time nearly six months after the

FBI had already rejected NSO’s technology. Yet, the document is withheld in full under

Exemption 7(E). There is no explanation, either stated or obvious, for what law enforcement

concerns would pertain to documents coming so long after the decision to not use NSO products.

Group G: Docs 308-309, 310-318 (getting Israeli approval to obtain the technology)
       Small segments of these documents have been released. But the FBI has not come close

to offering a justification for withholding large portions of the documents under Exemptions 5

and 7(E). The exemptions are deployed with no explanation for why they would apply

universally to an email chain that began in 2018 (before the agreement to buy NSO software) and

extended to October 2021 (months after the cessation decision) concerning a memorandum sent

to an Israeli agency on December 4, 2018. No clue is given, for purposes of Exemption 5, as to

what was being deliberated at any specific point in that three-year time span. There is no

indication who the recipients of the first email chain are, and no indication of either the

recipients or the sender of the second one. And the FBI says nothing about how disclosures

dealing with the representations made to an Israeli government body—about a product ultimately

rejected—could touch upon sensitive 7(E) information or risk circumvention of the law.

       Whatever else may be true about FOIA, both sides agree that the Government has the

burden of establishing that an exemption applies. The FBI has not done that here.

Group H: Docs 320-322 (Barr meeting, July 17-27, 2021)
       Once again, the FBI’s failure to justify withholding is front and center. This email chain

from July of 2021 pertains to a meeting with the Attorney General—only not the sitting Attorney

General, but William Barr, who had been out of office for more than seven months. The FBI has

made sure, through a barebones Vaughn index, that neither the Court nor Plaintiffs know what


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these mysterious documents are about, let alone why Exemption 5 or 7(E) should apply. The FBI

plainly has failed to carry its burden.

Group I: Docs 324, 326 (strategy plan for NSO)
        These two documents are purported to be a “plan for NSO product.” The FBI does not

claim that there is any deliberation about these plans going on. Based on the description given, it

appears to be a final plan and therefore outside the deliberative privilege of Exemption 5. To the

extent 7(E) is applied, it fails for the reasons set forth above.

Group J: Docs 328-329 (describing NSO capabilities), Docs 520-525 (technical details)
        These documents, too, appear to be factual not deliberative. The first one is labeled a

“document describing capabilities of NSO product.” It is undated. No basis for applying

Exemption 5 is shown. The second is also undated and described as an “[i]nternal document

provided [sic] technical details of an NSO product.” It is withheld solely under Exemption 7(E).

Because both apparently deal solely with the capabilities of the rejected NSO technology, there

is no basis for concluding that their disclosure would risk circumvention and bring the

documents within the scope of Exemption 7(E).

Group K: Docs 3-36, 372-467 (PowerPoints)
        There appear to be four PowerPoints. The first (Doc 3-36) is dated October 28, 2020, and

the third (Doc 428-461) is dated September 4, 2020. The other two (Docs 372-426, 463-467) do

not have a date. But the withholding in both instances requires one to believe that the

PowerPoints slides had no factual, non-deliberative components that could be segregated from

any deliberative part of the presentation. That is not logical or plausible. To the extent 7(E) is

applied, it fails for the reasons set forth above.




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Group L: Docs 469-471 (update on acquisition)
       These emails from early 2021 concern the “status of the acquisition of NSO product.”

Nothing about that description suggests that the emails are deliberative for purposes of

Exemption 5 or law enforcement-sensitive for purposes of Exemption 7(E), dealing as they do

with the process of purchasing and obtaining delivery of a product.

Group M: Docs 516-518, 738-786 (ceasing NSO relationship)
       These materials were released in part. The redacted versions show very little other that

than on July 22, 2021, the FBI ceased all efforts regarding NSO. (See Exh. D to Mazzetti Decl.

(e-mail dated July 22, 2021, Bates 516 of the FBI’s document production).) While the FBI relies

principally on Exemption 5 to withhold them, the descriptions utterly fail to establish that the

documents were both deliberative and pre-decisional. In fact, some of them contain time stamps

from the late morning and early afternoon of July 22—meaning they are being sent after that

morning’s decision to cease has already been made. Further, the description provides no

indication why anyone, at the point that the cessation decision was made, would be disclosing

anything at all in an email that would fall into the category of law enforcement information that

would risk circumvention as required by 7(E).

Group N: Docs 601-625 (anticipating call with the Attorney General)
       These documents suggest that a call with the Attorney General was to take place at some

point after October 7, 2021. The NSO project had been dead for nearly three months. The FBI

fails to indicate what the topic of the call was to be, nor does it say what exactly is involved in

“anticipat[ing]” a call that would trigger any exemption. It is impossible to tell whether the

emails are solely factual (for example, when the call is going to happen, what the topic will be,

who will participate) and outside Exemption 5. Further, there is not even a suggestion that in



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doing this “anticipat[ing],” the FBI was conveying to anyone some law enforcement-sensitive

information falling under 7(E).

Group O: Docs 704-05, 735-737 (regarding NSO group)
        These emails were all sent and received around the time that the FBI was rejecting the

use of NSO technology on July 22, 2021. The description from the Vaughn index—“emails . . .

regarding NSO group”—provides no basis whatsoever for knowing why particular exemptions

were found to be applicable by the FBI.

Group P: Docs 675, 701-703, 787-788 (regarding tool, July 20, 2021 and after)
        Similarly, description of these emails, also from around the time of the cessation of the

use of the product, provides no indication as to why an exemption applies. They are described

merely as “regarding NSO Group tool.”

Group Q: Docs 499-501, 503-510, 512-514, 661 (miscellaneous)
        These documents have all been withheld in full under Exemption 5, and either in full or

in part under Exemption 7(E). In some cases (for example, Docs 512-514) there is no indication

of what deliberations the records refer to, and for all of the records it defies credibility that there

is no factual information that can be released. The Government’s invocation of Exemption 7(E)

fails for the reasons given above.




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                                      III.
                THE FBI HAS FAILED TO MEET THE REQUIREMENTS
                         OF THE 2016 FOIA AMENDMENT

       Even if the Government could establish that all of the withheld material falls within

FOIA’s exemptions, it loses for another reason: it has failed to show that disclosure would

occasion reasonably foreseeable harm to the interests protected by the exemptions relied upon.4

       This “foreseeable harm” requirement, as it is known, became law under the 2016 FOIA

Improvement Act. Seife, 43 F.4th at 235. The Act directs agencies to withhold information only

where it “reasonably foresees that disclosure would harm an interest protected by an exemption.”

5 U.S.C. § 552(a)(8)(A). In other words, it is no longer enough for the agency to establish that

the material is covered by a statutory exemption; it must also meet an “independent and

meaningful burden” to show harm from disclosure. Reporters Comm. for Freedom of the Press v.

FBI, 3 F.4th 350, 369 (D.C. Cir. 2021); see also Seife, 43 F.4th at 241 (noting that the Act “poses

an additional burden on the withholding agency”). The agency satisfies this burden if it has

supplied “a focused and concrete demonstration of why disclosure of the particular type of

material at issue” will undermine the exemption’s core interests. Reporters Comm., 3 F.4th at

370; accord, e.g., Reporters Comm. for Freedom of the Press v. CBP, 567 F. Supp. 3d 97, 110

(D.D.C. 2021). “[B]road, hedging statements” do not suffice, Seife, 43 F.4th at 243, nor do

“boilerplate and generic assertions,” Reporters Comm., 3 F.4th at 370.

       These assertions are all the Government offers here. Its papers repeatedly and matter-of-

factly emphasize that disclosure will cause great harm. See generally FBI Mem. at 17-23; Seidel

Decl. ¶¶ 57-62, 96-97. But the justifications it provides are neither “focused” nor “concrete.”


4
 The requirement does not apply where disclosure is “prohibited by law.” 5 U.S.C. §
552(a)(8)(A).

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Take what the Government says about the category of records it terms “deliberative

communications.” Seidel Decl. ¶ 57(a). It cites first a broad and generic “chilling effect” on

agency deliberations (which is insufficient), before going on to identify purported specific harms

based on the subject matter of the communications. See id. But in reality the Government uses

the same empty language for every subject matter: disclosure of the records will “harm future

deliberations” about that subject matter in the future. Nowhere to be found in the Government’s

papers is a meaningful explanation of what those harms are or why disclosure would lead to that

result. See, e.g., Reporters Comm., 3 F.4th at 372 (finding FBI declaration insufficient to show

foreseeable harm where it “did not explain the particular sensitivity of the types of information at

issue or the role that they play in the relevant agency decisional processes (and, therefore,

whether and how their release would harm similar deliberations in the future)”). For this reason,

too, the material withheld under Exemptions 5 and 7(E) must be released.5

                                       IV.
                         THE CONTRACT AND TALKING POINTS
                          DOCUMENTS CANNOT BE WITHHELD
                             UNDER EXEMPTIONS 1 AND 3

       The FBI has determined to withhold in full the contract with NSO (Exh. K. to Seidel

Decl., Doc 829-840) under Exemption 1 and 3. It also employs those exemptions to withhold in

part documents pertaining to talking points (Groups D and E above). Those determinations are

neither logical nor plausible.




5
 The foreseeable harm requirement applies to both prongs of Exemption 7(E)—“techniques and
procedures” as well as “guidelines”—and independently “guard[s] against general explanations
and boilerplate language used to justify withholdings.” Reporters Comm., 567 F. Supp. 3d at
128.

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       Congress amended FOIA in 1974 specifically to set aside court decisions that had

directed courts not to review classification decisions in FOIA cases. See CIA v. Sims, 471 U.S.

159, 188-89 (1985). As amended, FOIA specifically empowered the courts to undertake de novo

review “in all cases” and “extended the language of FOIA’s provision for in camera review to

encompass Exemption 1.” Halpern v. FBI, 181 F.3d 279, 291 (2d Cir. 1999) (emphasis added).

       For both Exemption 1 and Exemption 3, the FBI’s explanation for the need for secrecy

must be “logical and plausible.” See N.Y. Times Co. v. DOJ, 756 F.3d 100, 119 (2d Cir. 2014)

(quoting Gardels v. CIA, 689 F.2d 1100, 1105 (D.C. Cir. 1982)); Navasky v. CIA, 499 F. Supp.

269, 274 (S.D.N.Y. 1980) (holding that agency failed to show that materials sought “logically

fall into the categories of ‘intelligence sources and methods’”). The Government must provide a

“relatively detailed analysis” of the withheld information and show how that analysis applies to

individual documents under Exemptions 1 and 3. Halpern, 181 F.3d at 290.

       To be sure, the courts are to accord “substantial deference” to agency affidavits

pertaining to national security, Associated Press v. DOD, 498 F. Supp. 2d 707, 710 (S.D.N.Y.

2007) (cleaned up), but “deference is not equivalent to acquiescence.” Campbell, 164 F.3d at 30.

The courts are not to “relinquish[]” their “independent responsibility” to review agency

determinations de novo, even where the documents at issue pertain to national security.

Goldberg v. Dep’t of State, 818 F.2d 71, 77 (D.C. Cir. 1987). As the Second Circuit has stated,

“deference to . . . a conclusory ‘catch-all’ assertion is inappropriate.” Halpern, 181 F.3d at 295

(adjudicating an agency’s invocation of Exemption 1); see also Associated Press, 498 F. Supp.

2d at 711 (applying “thorough scrutiny” of the agency’s documents after finding that the

Department of Defense’s affidavit failed to provide “sufficient particularization as to allow the




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Court to make any informed determination of whether any given redaction satisfied Exemption

1”).

        Exemption 1 allows agencies to withhold information that is “in fact properly classified

pursuant to such Executive order.” 5 U.S.C. § 552(b)(1). Under Executive Order 13,526,

classification is permitted only as to documents whose disclosure “reasonably could be expected

to cause identifiable or describable damage to national security” and “pertains to” at least one of

eight enumerated topics. E.O. 13,526 § 1.4.6 There are other important limits, including the

prohibition on classification whose purpose is to: “(1) conceal violations of law, inefficiency, or

administrative error; (2) prevent embarrassment to a person, organization, or agency; (3) restrain

competition; or (4) prevent or delay the release of information that does not require protection in

the interest of the national security.” Id. § 1.7.

        In claiming the right to withhold information related to national security, the Government

also turns to Exemption 3, which incorporates the secrecy provisions of other statutes,

specifically here the National Security Act, 50 U.S.C. § 3024(i)(1). (See FBI Mem. at 14.) The

two threshold criteria for an Exemption 3 withholding are that: (1) the statute invoked qualifies

as an Exemption 3 withholding statute, and (2) the materials withheld fall within that statute’s

scope. ACLU, 2011 U.S. Dist. LEXIS 132503, at *16. The provision of the National Security Act

relied upon by the FBI is a withholding statute, but, as the FBI concedes, its protection is limited


6
  As set forth in E.O. 13,526 §1.4, these topics are: (a) military plans, weapons systems, or
operations; (b) foreign government information; (c) intelligence activities (including covert
action), intelligence sources or methods, or cryptology; (d) foreign relations or foreign activities
of the United States, including confidential sources; (e) scientific, technological, or economic
matters relating to the national security; (f) United States Government programs for safeguarding
nuclear materials or facilities; (g) vulnerabilities or capabilities of systems, installations,
infrastructures, projects, plans, or protection services relating to the national security; and (h) the
development, production, or use of weapons of mass destruction.

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to safeguarding “intelligence sources and methods from unauthorized disclosure.” (See FBI

Mem. at 14.) Further, the FBI must show do more than refer to possible harm; it must also show

a plausible connection between that harm and the disclosures being sought. ACLU v. DOD, 492

F. Supp. 3d 250, 262 (S.D.N.Y. 2020) (“[T]he Court credits the potential harm to national

security of disclosure, but it does not see—through its review of the classified and unclassified

Knight Declaration—the connection between that harm and the disclosure of intelligence sources

and methods protected by the National Security Act.”)

       The contract. The contract with NSO fails to qualify for withholding under either

exemption. The FBI simply fails to demonstrate what damage to national security would arise

from disclosure of a contract that it entered into with a private company. And, given the

deplorable record of how the NSO product has been used to violate human rights and spy on

journalists and social justice advocates, there is some reason to believe that the withholding of

the contract is designed to prevent “embarrassment,” a rationale specifically barred by the

relevant executive order. Nor can there be any question that the disclosure of a contract for a

product that the FBI now claims was never operationalized poses zero risk to the FBI’s sources

and methods under Exemption 3. If the contract is like every other technology contract that exists

in the world, it primarily deals with pricing, payment terms, and such routine legal matters as

dispute resolution mechanisms, indemnifications, and representations and warranties—hardly the

stuff of spy craft. The only possible intelligence source or method the disclosure of the contract

would reveal is one the agency has already revealed: it purchased a license to use NSO’s

products. See ACLU, 492 F. Supp. 3d at 262 (“In [the cases cited by the Government], disclosing

the information at issue would have revealed something about how the CIA collected

intelligence. Here, based on the Court’s review of Knight's declaration, disclosing the existence


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of updated guidance would reveal nothing of the sort.”). And, for the same reasons, to the extent

that the FBI claims that part of the contract is covered by Exemption 7(E), that argument

likewise fails because of both what we know about the content of a typical contract and the

decision by the FBI not to employ the technology.

       Talking points documents. The Vaughn index for Groups D and E indicate that some

part of documents discussing talking points, as well as drafts of talking points, are being

withheld under Exemptions 1 and 3. (See Exh. K to Seidel Decl., Docs 122-135, 155-160, 136-

152, 162-194, 305-307.) It is neither logical nor plausible that talking points to be used outside

the agency contain classified information or information disclosing sources and methods.

Perhaps there are discussions of the talking points that make reference to such information, but

that seems both unlikely and, on the factual record put in by the FBI, unexplained. In the absence

of a cognizable rationale for withholding, the material should be disclosed.

                                         V.
                          AT A MININUM, THE COURT SHOULD
                           CONDUCT AN IN CAMERA REVIEW

       In the event this Court concludes that any of the cited exemptions do apply—and that the

Government has satisfied the foreseeable harm requirement—The Times requests that the Court

exercise its discretion to conduct in camera review to ensure that redactions are no more

restrictive than required. See 5 U.S.C. § 552(a)(4)(B) (the court “may examine the contents of . .

. agency records in camera to determine whether such records or any part thereof shall be

withheld under any of the exemptions set forth in subsection (b) of this section”); Halpern, 181

F.3d at 292 (concluding that in camera review was proper “where it might be possible that the

agency had exempted whole documents simply because there was some exempt material in

them”).


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       In camera review is particularly warranted in this case, for two reasons. The first is the

inadequacy of the Vaughn index: as noted above, the index’s often vague descriptions obscure

the substance of the withheld information and therefore impede The Times’s ability to

meaningfully contest its nondisclosure. The second reason is the nature of the main exemptions

at issue here, 5 and 7(E). These are by their nature narrow exemptions that frequently apply to a

portion of a record rather than its full contents. See, e.g., Brennan Ctr., 571 F. Supp. 3d at 249

(finding after in camera review that redactions under Exemption 7(E) were inappropriate); N.Y.

Times Co. v. Dep’t of State, 2019 U.S. Dist. LEXIS 113743, *9-10 (S.D.N.Y. 2019) (concluding

after in camera review that certain redactions were not justified by deliberative process

privilege).

                                         CONCLUSION

       For each and every of the reasons set forth above, Plaintiffs respectfully ask this Court for

an order (i) denying Defendant’s Motion and granting Plaintiffs’ Cross-Motion; (ii) declaring

that the documents sought by Plaintiffs are public under 5 U.S.C. § 552 and must be disclosed;

(iii) directing Defendant to provide the requested records to Plaintiffs within 20 business days of

the Court’s order; (iv) awarding Plaintiffs the costs of this proceeding, including reasonable

attorney’s feed, as expressly permitted by 5 U.S.C. § 552(a)(4)(E); and (v) granting such other

and further relief as the Court deems just and proper.

       Dated: New York, NY
              October 3, 2022

                                                              Respectfully submitted,

                                                              By:    /s/ David E. McCraw
                                                              David E. McCraw
                                                              Al-Amyn Sumar
                                                              The New York Times Company


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